             Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 1 of 7



                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
        v.                                           :        Case No. 21-CR-6 (TJK)
                                                     :
DOUGLAS AUSTIN JENSEN,                               :
                                                     :
                  Defendant.                         :

       GOVERNMENT’S MOTION TO REVOKE DEFENDANT’S PRETRIAL RELEASE

        A mere thirty days after his release from the D.C. Jail, defendant Douglas Jensen was found alone,

in his garage, using a WiFi-connected iPhone to stream news from Rumble. 1 When confronted about this

obvious violation of his release conditions, defendant provided his Pretrial Services Officer with one excuse

after another. First, he claimed that the phone belonged to his daughter. Jensen’s daughter, however, later

told Pretrial Services that she had gotten a new phone almost three weeks ago. Then, Jensen claimed that

his wife – the same individual who swore, under oath, to notify the Court immediately if Jensen violates a

condition of release – facilitated his violation by leaving the news on for him when she left for work in the

morning. Finally, Jensen claimed not to know the password to the iPhone, only to later enter the password

for his Pretrial Services Officer.

        Jensen eventually admitted to his Pretrial Services Officer that in the previous week, he had spent

two days watching Mike Lindell’s Cyber Symposium regarding the recount of the presidential election. 2




         1
             See Drew Harwell, “Rumble, a YouTube Rival Popular with Conservatives, Will Pay Creators Who
‘Challenge the Status Quo,’” Washington Post (Aug. 12, 2021), available at https://www.washingtonpost.com/
technology/2021/08/12/rumble-video-gabbard-greenwald/ (“Rumble has emerged over the last year as one of the most
prominent video sites for right-wing viewers and provocateurs, and it is seeking to bolster its image as a new online
home for those who claim they’ve been censored by Big Tech. The site bans racism and hate speech but has contrasted
itself with the Google-owned YouTube by refusing to remove ‘medical misinformation,’ including those casting doubt
on vaccines during a pandemic that is surging in many states and has killed more than 4 million people around the
world.”).
         2
           See Joseph Marks, “The Cybersecurity 202: My Pillow Cyber Symposium is Yet Another Font of Election
Fraud Lies,” Washington Post (Aug. 11, 2021), available at https://www.washingtonpost.com/
politics/2021/08/11/cybersecurity-202-my-pillow-cyber-symposium-is-yet-another-font-election-fraud-lies/.

                                                         1
           Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 2 of 7



        Jensen’s conditions of release are unambiguous: he is prohibited from accessing the Internet,

“directly or indirectly (through devices belonging to others, or in public spaces).” Dkt. 30, at 3 (emphasis

added). He is prohibited from accessing or utilizing internet-capable devices, “including a cell phone.” Id.

And he is prohibited from learning the password to any family members’ internet-capable devices. Id. And

yet, despite swearing, under oath, to comply with all these conditions, Jensen wasted no time in violating

this Court’s orders.

        In his bond motion, Jensen claimed that he had come “full circle” – that he felt “deceived” by

QAnon’s conspiracy theories, and that he “recogniz[ed] that he bought into a pack of lies.” Dkt. 21 at 7.

But Jensen’s swift violation confirms what the Government and this Court suspected all along: that Jensen’s

alleged disavowal of QAnon was just an act; that his alleged epiphany inside the D.C. Jail was merely self-

advocacy; and that, at the end of the day, Jensen will not abandon the misguided theories and beliefs that

led him to menacingly chase U.S. Capitol Police Officer Eugene Goodman up the Senate staircase on

January 6, 2021.

        Jensen’s claims of reform cannot be credited, nor can he be trusted to abide by this Court’s orders.

Jensen is already subject to the highest degree of supervision, which means there are no additional

conditions of release that this Court can impose to protect the public from Jensen or to ensure compliance

with the Court’s release conditions. To allow Jensen to remain on pretrial release would be to repose trust

in an undeserving individual who has already proven himself unwilling to modify, much less rethink, his

behavior after January 6. Jensen remains a danger to the community and cannot be trusted by this Court to

abide by any conditions of release.

                                            BACKGROUND

        Jensen was arrested in Iowa on January 8, 2021 pursuant to an arrest warrant issued in connection

with a Criminal Complaint charging Jensen with, among other crimes, Obstructing a Law Enforcement

Officer During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3). Dkt. 1.

        On January 11, 2021, a federal grand jury in the District of Columbia returned a six-count

Indictment charging defendant with violations of 18 U.S.C. § 231(a)(3) (Obstruction of a Law Enforcement

                                                     2
           Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 3 of 7



Officer During a Civil Disorder); 18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain

Officers); 18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building); 18 U.S.C.

§ 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building); 40 U.S.C. § 5104(e)(2)(A)

(Violent Entry and Disorderly Conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building). Dkt. 3.

        Jensen had his initial appearance in the Southern District of Iowa on January 12, 2021. See Dkt.

14, at 5. The Government filed a motion to detain Jensen without bond pending trial, and a detention

hearing was held on January 19. Id. at 6. On January 21, the court ordered Jensen released pending trial

and imposed special release conditions. Id. at 10-17. The court stayed its ruling until January 27 to allow

the Government an opportunity to appeal to this Court pursuant to 18 U.S.C. § 3145(a). Id. at 13.

        On January 22, the Government filed a Motion for Emergency Stay and For Review of Release

Order (hereinafter, the “Emergency Motion”). Dkt. 5. On February 10, the grand jury returned a seven-

count superseding indictment, charging Jensen with five felonies and two misdemeanors. Dkt. 12.

Specifically, the grand jury charged Jensen with violations of 18 U.S.C. § 231(a)(3) (Obstruction of a Law

Enforcement Officer During a Civil Disorder); 18 U.S.C. §§ 1512(c)(2), 2 (Obstruction of an Official

Proceeding); 18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain Officers); 18 U.S.C.

§ 1752(a)(1) and (b)(1)(A) (Unlawfully Entering and Remaining in a Restricted Building While Carrying

a Deadly and Dangerous Weapon); 18 U.S.C. § 1752(a)(2) and (b)(1)(A) (Disorderly and Disruptive

Conduct in a Restricted Building While Carrying a Deadly and Dangerous Weapon); 40 U.S.C.

§ 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building); 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, and Picketing in a Capitol Building).

        An arraignment and detention hearing were held before the Court on February 23. The Court

ordered Jensen detained, finding that no condition or combination of conditions could reasonably assure

the safety of any person and the community. The Court’s detention order detailed the “gravely serious”

nature and circumstances of the offense, including the fact that Jensen “allegedly travelled halfway across


                                                     3
           Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 4 of 7



the country . . . attended a rally in support of former President Trump, joined rioters by climbing through

a broken window to enter the Capitol while armed with a knife, led a mob chasing Capitol Police Officer

Eugene Goodman up a flight of stairs in a menacing fashion, threatened to take the officer’s baton, and

refused to obey the officer’s lawful orders to stop and leave.” Dkt. 15, at 3. The Court also highlighted

certain troubling aspects of Jensen’s history and characteristics, including the fact that his actions on

January 6 were “motivated by conspiracy theories that, in Mr. Jensen’s words, let him to be ‘all about a

revolution’ against the lawful government of the United States.” Id. at 4.

        On April 9, a federal grand jury returned a second superseding indictment charging Jensen with

aggravated assault rather than simple assault. Dkt. 17. Whereas simple assault is punishable by up to one

year of imprisonment, aggravated assault is punishable by up to eight years’ imprisonment. See 18 U.S.C.

§ 111(a)(1).

        On June 7, Jensen filed a motion to revoke the Court’s detention order. Dkt. 21. In his motion,

Jensen claimed to have fallen “victim” to a “barrage of internet sourced info” and to “numerous conspiracy

theories,” including a theory, propounded by the “bizarre” QAnon, that the election had been stolen. Id.

at 4, 6-7. Jensen lied to this Court by claiming to have distanced himself from those theories. Indeed, he

even went so far as to claim that he felt “deceived, recognizing that he bought into a pack of lies.” Id. at

7.

        In its opposition to defendant’s bond motion and at a June 24 bond hearing, the Government

repeatedly highlighted Jensen’s concerning relationship to QAnon and to other conspiracy theories. The

Government described Jensen as a devout QAnon adherent whose unwavering devotion to “Q” led him to

commit criminal acts on January 6, 2021. As the Government argued, “not only was defendant willing to

harm a law enforcement officer for QAnon, but he was also willing to sacrifice his family, friends, job,

and health for an unknown entity with whom he had only ever interacted via social media.” Dkt. 24, at 7.

The Government also highlighted various warnings that Jensen’s family and friends had provided to FBI



                                                     4
               Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 5 of 7



about Jensen’s QAnon addiction. See id. at 7-8. Overall, the Government argued that Jensen lacked good

judgment, and that he could not be trusted to abide by any release conditions.

            The Court ultimately granted Jensen’s release on July 13, finding that certain strict conditions of

release could be imposed in order to mitigate Jensen’s future danger to the community. In so doing, the

Court relied in part on Jensen’s representations that he felt deceived by QAnon, that he recognized that he

had “bought into a pack of lies,” and that he had experienced a “wake-up call.” Id. at 19. As the Court

explained, “While I don’t put too much weight on these representations, given how late they’ve come, and

they are less persuasive given that they’re through counsel, they do distinguish Mr. Jensen from many

other detained January 6th rioters, and they do suggest that Mr. Jensen has come to understand that acting

on conspiracy theories like QAnon can have terrible real-life consequences both for others and for him.”

Exh. 1, at 6. Recognizing the corrupting and dangerous influence that conspiracy theories hold over

Jensen, the Court specifically prohibited Jensen from accessing the Internet “directly or indirectly”

through any devices belonging to himself or others. Id. at 26; Dkt. 30, at 3. The Court further prohibited

defendant from utilizing any internet-capable devices, and required that all internet-capable devices in

Jensen’s household be password-protected from Jensen. Id. The Court pronounced these special

conditions orally at the July 13 bond hearing, and personally warned Jensen that his release “could be

revoked and you would be detained at that point very likely until the case is completely resolved.” Exh.

1, at 30.

            Jensen swore, under oath, to obey these conditions. Id. at 40. Additionally, Jensen’s wife, April

Jensen, swore under oath that she would agree to supervise Jensen, and that she would notify the Court

immediately if Jensen violated a condition of release. Id. at 27-28. Indeed, the Court specifically

confirmed that Ms. Jensen understood that the “typical outcome if someone violates their conditions of

release in a material way is that they’re just jailed again pending trial.” Id. Jensen was ultimately released

from the D.C. Jail on July 14, 2021. Dkt. 31.



                                                         5
             Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 6 of 7



        Less than one month later, Pretrial Services Officer Brandon Brown discovered Jensen, inside his

garage, listening to the news on Rumble via a WiFi-connected iPhone. Dkt. 32 at 3. Jensen admitted to

Officer Brown that he had possessed the iPhone for the past two weeks. Id. Jensen further admitted that

he had spent two days during the past week watching a cyber symposium on the recount of the presidential

election. Id.

        On August 16, 2021, the Pretrial Services Agency for the District of Columbia (“PSA”) filed a

violation report seeking “[p]rogram [r]emoval” for Jensen. Based on conversations with PSA, the

Government understands PSA to be seeking the revocation of defendant’s pretrial release.

                                                 ARGUMENT

  I.    Applicable Authority

        Under 18 U.S.C. ' 3148(a), “[a] person who has been released under section 3142 of this title, and

who has violated a condition of his release, is subject to a revocation of release.” Specifically, “[t]he judicial

officer shall enter an order of revocation and detention if, after a hearing, the judicial officer finds that there

is . . . clear and convincing evidence that the person has violated any other condition of release . . . [and

that] the person is unlikely to abide by any condition or combination of conditions of release.” 18 U.S.C.

' 3148(b).

 II.    Jensen is Unlikely to Abide by Any Condition or Combination of Conditions of Release

        Jensen managed to violate one of the most difficult-to-enforce conditions in the most egregious

way imaginable. He has proven that not even six months in jail will deter him from returning to the

conspiracy theories that led him to commit an assault against a federal officer on January 6, 2021. Contrary

to what Jensen claimed at his bond hearing, he is still very much bought into QAnon’s “pack of lies.” See

Dkt. 21 at 7. Indeed, the Court need look no further than Jensen’s virtual attendance at a symposium

dedicated to challenging the legitimacy of the 2020 electoral election to know that Jensen will continue to

let his loyalties to certain conspiracy theories prevail over his obligations to this Court and his family.




                                                        6
            Case 1:21-cr-00006-TJK Document 34 Filed 08/19/21 Page 7 of 7



          Jensen’s violation is doubly concerning because it exposes Ms. Jensen as an unsuitable and

untrustworthy custodian. Indeed, by the defendant’s own account, Ms. Jensen left the iPhone on for the

defendant when she went to work on August 13, thereby facilitating his violation. Thus, even if the Court

were inclined to keep defendant on pretrial release, there are no suitable third-party custodians to supervise

Jensen.

          Jensen was given an extraordinary second chance when he was released from pretrial detention.

He squandered that chance by swiftly violating this Court’s orders in order to return to the same pattern of

conduct that led him to commit an aggravated assault on January 6, 2021. He does not appreciate the

gravity of the situation he is in, and he does not respect this Court’s authority. For these reasons, the

Government respectfully requests that this Court revoke Jensen’s pretrial release.

                                                           Respectfully submitted,

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